        Case 1:18-cv-03196-VSB-RWL Document 241 Filed 01/11/21 Page 1 of 2




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January 8, 2021

VIA ECF                                                                                 1/11/2021
                                                                    The parties are directed to meet and confer regarding Plaintiffs’
The Honorable Vernon S. Broderick                                   proposed depositions after Defendants have had more time to
U.S. District Court Judge                                           evaluate the issue. Plaintiffs may reapply for leave under Rule
Southern District of New York                                       30(a)(2) in the future after Defendants have had more time to
Thurgood Marshall United States Courthouse                          evaluate the issue and the parties have met and conferred.
30 Foley Square
New York, NY 10007

Re:      Fair Housing Justice Center, et al., v. Andrew Cuomo, et al., 18-CV-3196

Dear Judge Broderick:

We represent plaintiffs Fair Housing Justice Center, Inc., John Doe, and John Doe as Administrator
for the Estate of Jane Doe (collectively, “Plaintiffs”) and submit this joint letter on behalf of all
parties.

Pursuant to Your Honor’s Individual Rules & Practices, Section 3, Plaintiffs respectfully request
the Court grant leave, pursuant to Fed. R. Civ. P. 30(a)(2), to permit the parties to take a total of
up to 20 depositions each. In their initial disclosures, the Defendants 1 collectively have identified
more than 10 individuals with relevant knowledge in this action. This number does not include
other witnesses who testified at the preliminary injunction hearing in July 2018, nor does it include
depositions of corporate entities and government agencies under Fed. R. Civ. P. 30(b)(6).
Accordingly, Plaintiffs believe that the 10 depositions provided in Fed. R. Civ. P. 30 are
insufficient and that a limit of 20 depositions is reasonable.




1   Defendants comprise of 6 separately named individuals and entities, and include: (i) Howard
    Zucker, as Commissioner of the New York State Department of Health, and the (ii) New York
    State Department of Health (collectively "State Defendants"); (iii) Elm York LLC, (iv)
    Madison York Assisted Living Community, LLC, and (v) Madison York Rego Park LLC
    (collectively, the “York Defendants”); and (vi) Village Housing Development Fund
    Corporation (“Village Care”).


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      Case 1:18-cv-03196-VSB-RWL Document 241 Filed 01/11/21 Page 2 of 2

Hon. Vernon S. Broderick
January 8, 2021
Page 2


Village Care has consented to this request. However, the State Defendants and the York
Defendants believe the request for 20 depositions to be premature until such time as they have a
better understanding of who will be deposed and how many depositions are truly needed. They
have advised that they will not unreasonably withhold consent at that time.

Plaintiffs believe the State Defendants’ and the York Defendants’ approach is unworkable because
the number of depositions will determine whose depositions Plaintiffs will notice and in what
sequence. Furthermore, Plaintiffs would like to proceed with noticing the witnesses already
identified by Defendants in their Initial Disclosures.

We thank Your Honor for your attention to this matter.

Respectfully submitted,

/s/ Jay D. Dealy
Jay D. Dealy

cc:     Counsel of ECF




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